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                      EXHIBIT B
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                                            #: 11771



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  TOUCHSTREAM TECHNOLOGIES, INC.,         §
                                          §
                    Plaintiff,            § Lead Case No. 2:23-cv-00059-JRG
      v.                                  § Member Case No. 2:23-cv-00062-JRG
                                          §
  COMCAST CABLE COMMUNICATIONS,           §
  LLC, d/b/a XFINITY, et al.,             § JURY TRIAL DEMANDED
                              Defendants. §
                                          §

                                   COMCAST’S WITNESS LIST

         Pursuant to Federal Rules of Civil Procedure 26(a)(3) and the Court’s Third Amended

 Docket Control Order (Dkt. 205), Defendants Comcast Cable Communications, LLC, Comcast

 Cable Communications Management, LLC, Comcast of Houston, LLC, and Comcast

 Corporation (collectively, “Comcast”) provide the following list of fact and expert witnesses

 whom they expect to call or may call at trial, either in their case-in-chief or for rebuttal, and

 either live or through sworn deposition testimony.

         Comcast reserves the right to object to any of the witnesses called by Plaintiff

 Touchstream Technologies, Inc. (“Touchstream”), and reserves the right to call additional

 witnesses for purposes of impeachment or rebuttal. Comcast further reserves the right to call any

 witness Touchstream identifies in its witness list or calls during trial.

  Name                            Affiliation           Will/        Live/             Objections
                                                        May Call     Deposition
  Dr. Stephen Becker              Expert retained       Will         Live
                                  by Comcast
  Michael Bevan                   Third Party           May          Live              R, P, U, SM
  Gil Beyda                       Third Party           May          Live
  Sharon Cilione-Berger           Comcast               May          Live
  Evan Cohen                      Comcast               May          Live
  Jamie Cohen                     Touchstream           May          By deposition


                                                    1
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  Name                  Affiliation           Will/        Live/           Objections
                                              May Call     Deposition
  Dr. Kevin Jeffay      Expert retained       Will         Live
                        by Comcast
  Rajiv Lulla           Third Party           May          By deposition
  Scott Manning         Comcast               May          Live
  Jeffrey Pinard        Third Party           May          By deposition
  Todd Ricker           Comcast               May          Live
  Michael Rinzler       Touchstream           May          By deposition
  Joshua Seiden         Comcast               Will         Live
  Anandhan Subbiah      Comcast               May          Live
  Tony Werner           Comcast               Will         Live
  Linda Yaccarino       Third Party           May          By deposition




                                          2
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               Objection Key
Abbreviation        Definition
                    Authentication, FRE
A                   901/902
                    Demonstrative/Should
                    not be admitted into
D                   evidence
                    “Incomplete”/Completen
I                   ess, FRE 106
                    Improper – not evidence
IM                  of anything

F                   Foundation, FRE 602, 901
                    Hearsay, FRE 801, 802,
H                   805
R                   Relevance, FRE 401, 402
O                   Overbroad, FRE 402
P                   Prejudicial, FRE 403
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Touchstream v. Charter                         #: 11774                          September 3, 2024
2:23-cv-00059-JRG
                         Untimely / Never
                         Produced / Not Produced
                         During Discovery, FRCP
U                        26, 37
DUP                      Duplicative
                         Subject to Motion
                         (Daubert and/or motion
SM                       in limine )
                         Testimony has not been
ND                       designated
                         Deposition not admissible
FRCP 32                  as exhibit


                         Violating the Court's
                         Standing Order On The
                         Number And Use Of Pre-
                         Admitted Exhibits In Civil
                         Cases Assigned To Chief
SO                       Judge Rodney Gilstrap
IMS                      FRE 1006
